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 5   Attorney for Leonardo Augusto Oliveira Santos
 6
                                UNITED STATES DISTRICT COURT
 7
                                          DISTRICT OF NEVADA
 8
 9
     UNITED STATES OF AMERICA,           )
10                                       )               2:17-cr-00001-JAD-CWH
                       Plaintiff,        )
11                                       )               STIPULATION TO CONTINUE
           vs.                           )               SENTENCING AND DISPOSITION
12                                       )               FOR Mr. Oliveira Santos
      LEONARDO A. OLIVEIRA-SANTOS,        )
13                                       )
                                         )
14                     Defendant.        )
     ____________________________________)
15
16         IT IS HEREBY STIPULATED AND AGREED by and between Defendant, LEONARDO
17 AUGUSTO OLIVEIRA SANTOS, by and through his counsel, TODD M. LEVENTHAL, ESQ.,
18 and the United States of America, by its counsel, JOHN PATRICK BURNS, Assistant U.S.
19 Attorney, that the Sentencing in the above-captioned matter currently set for Monday September
20 18, 2017 at 11:00a.m. be vacated and continued to at least 30 days at a time convenient for the
21 court preferably on a Friday .
22         This Stipulation is entered into for the following reasons;
23
24         1.      Other issues remain and are pending that are vital to the sentencing of
25                 Mr. Oliveira-Santos.
26         2.      Mr. Oliveira-Santos is in custody and agrees with the requested continuance.
27         3.      Mr Leventhal has spoken to JOHN P. BURNS, Assistant United States Attorney,
28                 and he has no objection to this continuance.
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 1        4.     Mr. Leventhal will commence U.S. vs. Bundy, et al., on October 10, 2017, and will
 2               not be available from Monday through Thursday during Trial. Therefore, it is
 3               respectfully requested that the current sentencing be set for a Friday within the next
 4               30 days if the court is available.
 5        5.     Additionally, denial of this request for a continuance could result in a miscarriage
 6               of justice.
 7
 8        DATED this 15th day of September, 2017.
 9
10 ___/s/ Todd M. Leventhal                                   ___/s/ John Patrick Burns
   TODD M. LEVENTHAL, ESQ.                                     JOHN P. BURNS
11 Counsel for Leonardo A. Oliveira-Santos                     Assistant U.S. Attorney
12
13
14
15        Submitted By: LEVENTHAL & ASSOCIATES, PLLC
16
17                                                     By:        /s/ Todd M. Leventhal
18                                                             TODD M. LEVENTHAL, ESQ.
                                                               Leventhal & Associates, PLLC
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22                                                             Attorney for: Leonardo A. Oliveira-
                                                               Santos
23
24
25
26
27
28
            Case 2:17-cr-00001-JAD-DJA           Document 221       Filed 09/17/17      Page 3 of 4



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 5 Attorney for Leonardo A. Oliveira-Santos
 6
 7                               UNITED STATES DISTRICT COURT
 8                                       DISTRICT OF NEVADA
 9
10 UNITED STATES OF AMERICA,             )
                                         )               2:17-cr-00001-JAD-CWH
11                     Plaintiff,        )
                                         )
12         vs.                           )
                                         )
13   LEONARDO A. OLIVEIRA-SANTOS         )
                                         )
14                                       )
                       Defendant.        )
15   ____________________________________)
16
                                           FINDINGS OF FACT
17
             Based on the stipulation of counsel, and good cause appearing, the Court finds that:
18
             1.     Other issues remain and are pending that are vital to the sentencing of
19
                    Mr. Oliveira-Santos.
20
             2.     Mr. Oliveira-Santos is in custody and agrees with the requested continuance.
21
             3.     Mr Leventhal has spoken to JOHN P. BURNS, Assistant United States Attorney,
22
                    and he has no objection to this continuance.
23
             4.     Mr. Leventhal will commence U.S. vs. Bundy, et al., on October 10, 2017, and will
24
                    not be available from Monday through Thursday during Trial. Therefore, it is
25
                    respectfully requested that the current sentencing be set for a Friday within the next
26
                    30 days if the court is available.
27
     ////
28
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 1         5.     Additionally, denial of this request for a continuance could result in a miscarriage
 2                of justice.
 3                                    CONCLUSIONS OF LAW
 4         1.   For all the above-stated reasons, the ends of justice would be best served by granting
 5
                a continuance of the current Sentencing and Disposition Hearing and reset it for a
 6
                time after October 16, 2017 at a time convenient for the court. Preferably on a
 7
                Friday morning.
 8
 9                                               ORDER

10              Accordingly, IT IS SO ORDERED that the current Sentencing and Disposition is
                                                   October 27, 2017,
11 vacated and the same is continued and reset for ______________,   at the
                                                                   2017,     hour
                                                                         at the   of 9:00
                                                                                hour of a.m.

12 __________, in Courtroom # ____.
        DATED    this
         Dated this   17th dayday
                    ________   of of
                                  September,
                                     September,2017.
                                                2017.
13
14
                                                 __________________________________
15                                               JENNIFER A. DORSEY
                                                 UNITED STATES DISTRICT JUDGE
16
17
                                    CERTIFICATE OF SERVICE
18
           I hereby certify that on the 15th day of September, 2017 a true and correct copy of the,
19
20 STIPULATION AND ORDER TO CONTINUE TIME FOR SENTENCING AND
21 DISPOSITION was filed through the CM/ECF filing system and was electronically served to
22 the following registered addresses on file for this instant case :
23
   John Patrick Burns: John.P.Burns@usdoj.gov, USANV.team2@usdoj.gov,
24
   veronica.criste@usdoj.gov
25
26
                                           /s/ Todd M. Leventhal
27
                                         An Employee of TODD M. LEVENTHAL, ESQ.
28                                       LEVENTHAL AND ASSOCIATES, PLLC.
